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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA


SISTERSONG WOMEN OF COLOR
REPRODUCTIVE JUSTICE
COLLECTIVE, on behalf of itself and
its members, et al.,
                                            No. 1:19-cv-02973-SCJ
                   Plaintiffs,

       v.

BRIAN KEMP, Governor of the State
of Georgia, in his official capacity, et
al.,

                   Defendants.



                            NOTICE OF APPEAL
      Notice is hereby given that Defendants Brian Kemp, Christopher M.
Carr, Kathleen Toomey, John S. Antalis, Gretchen Collins, Debi Dalton, E.

Daniel Deloach, Charmaine Faucher, Michael Fowler, Sr., Alexander S.

Gross, Thomas Hardin, Jr., Rob Law, Matthew W. Norman, David W.
Retterbush, Andrew Reisman, Joe Sam Robinson, Barby J. Simmons,

Richard L. Weil, LaSharn Hughes, Julia Slater, Joyette M. Holmes, Danny

Porter, and Meg Heap (all sued in their official capacities) (“the State
Defendants”) appeal to the United States Court of Appeals for the Eleventh

Circuit from the final judgment and order issued on July 13, 2020, granting
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plaintiffs’ motion for summary judgment and entering a permanent

injunction.
                                            Respectfully submitted,

Dated:        August 11, 2020              /s/ Andrew A. Pinson

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Steven C. Begakis (pro hac vice)             Attorney General of Georgia
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                            Counsel for Defendants




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                   CERTIFICATE OF COMPLIANCE
     I certify that this document uses 13-point Century Schoolbook in

compliance with Local Rule 5.1(B).

                                      /s/ Andrew A. Pinson
                                      Andrew A. Pinson




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                       CERTIFICATE OF SERVICE
      I hereby certify that the foregoing document was electronically filed

with the Clerk of Court using the CM/ECF system on August 11, 2020,

thereby serving all counsel of record.
                                         /s/ Andrew A. Pinson
                                         Andrew A. Pinson




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